Case 2:23-cv-07146-NJC-AYS           Document 42 Filed 12/02/24     Page 1 of 14 PageID #:
                                            1043



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK


  TOWN OF OYSTER BAY,

                   Plaintiff,                            Case No. 2:23-cv-07146-NJC-AYS
          v.
  NORTHROP GRUMMAN SYSTEMS
  CORPORATION,

                   Defendant.



                       TOWN OF OYSTER BAY’S REPLY IN SUPPORT OF
                         MOTION FOR PRELIMINARY INJUNCTION


                                                 Matthew F. Prewitt
                                                 J. Michael Showalter
                                                 Sonul Rao
                                                 ARENTFOX SCHIFF LLP
                                                 1301 Avenue of the Americas, 42nd Floor
                                                 New York, NY 10019
                                                 Phone: 312.258.5500
                                                 Fax:    212.484.3900
                                                 Email: matthew.prewitt@afslaw.com
                                                         j.michael.showalter@afslaw.com
                                                         sonul.rao@afslaw.com

                                                 Russell Selman (pro hac vice)
                                                 ARENTFOX SCHIFF LLP
                                                 233 S. Wacker Drive, Suite 7100
                                                 Chicago, IL 60606
                                                 Phone: 312.258.5500
                                                 Email: russell.selman@afslaw.com



                                                 Counsel for Plaintiff
                                                 Town of Oyster Bay, New York




 AFSDOCS:300885645.7
Case 2:23-cv-07146-NJC-AYS                         Document 42 Filed 12/02/24                             Page 2 of 14 PageID #:
                                                          1044
                                                   TABLE OF CONTENTS
                                                                                                                                      Page

 I.        THE TOWN’S RESIDENTS FACE POTENTIAL ENDANGERMENT FROM
           THE PRESENCE OF HEXAVALENT CHROMIUM IN THE PARK SOIL AND
           THROUGH CONFOUNDING OF FUTURE SAMPLING EFFORTS
           JUSTIFYING A PRELIMINARY INJUNCTION. ........................................................... 4
           A.         Permitting Grumman to Redeposit Sludge Alters the “Status Quo” of the
                      Park Because Characterizing the Site is Necessary to Abate
                      Endangerment ....................................................................................................... 4
           B.         Testing for Hexavalent Chromium Is Necessary to Abate Risk. ........................... 5
 II.       RCRA GIVES THIS COURT JURISDICTION TO COMPEL GRUMMAN TO
           ABATE RISK. ................................................................................................................... 6
           A.         DEC’s Failure to Act to Address Contamination Demonstrates that Lacks
                      Primary Jurisdiction Here. ..................................................................................... 7
           B.         The ROD Lacks Sufficient Specificity to Grant DEC Primary Jurisdiction. ........ 8
           C.         There Is No Final and Enforceable Order Giving DEC Primary
                      Jurisdiction Over this Dispute. ............................................................................... 9
 CONCLUSION ............................................................................................................................ 10




                                                                      i
Case 2:23-cv-07146-NJC-AYS                           Document 42 Filed 12/02/24                              Page 3 of 14 PageID #:
                                                            1045



                                                  TABLE OF AUTHORITIES

                                                                                                                                     Page(s)

 Cases

 AT&T Corp. v. FCC,
   967 F.3d 840 (D.C. Cir. 2020) ...................................................................................................9

 Autauga Cnty. Emergency Mgmt. Commc'n Dist. v. FCC,
    17 F.4th 88 (11th Cir. 2021) ......................................................................................................9

 Colorado River Water Conservation Dist. v. United States,
    424 U.S. 800 (1976) ...................................................................................................................6

 Comm. Ass’n for Restoration of the Env. v. Cow Palace, LLC,
   80 F. Supp. 3d 1180 (E.D. Wash. 2015) ....................................................................................6

 D’Amico v. Waste Mgmt. of New York,
    No. 6:18-CV-06080 EAW, 2019 WL 1332575 (W.D.N.Y. Mar. 25, 2019) .............................7

 Ellis v. Trib. Television Co.,
     443 F.3d 71 (2d Cir. 2006).........................................................................................................7

 Inc. Village of Garden City v. Genesco, Inc.,
     Case No. 07-cv-5244, 2009 WL 3081724 (E.D.N.Y. Sept. 23, 2009) ......................................6

 Interfaith Cmty. Org. Inc. v. PPG Indus., Inc.,
     702 F. Supp. 2d 295 (D.N.J. 2010) ........................................................................................7, 9

 Ohio Valley Env't Coal. v. Bluestone Coal Corp.,
    No. CV 1:19-00576, 2020 WL 2949782 (S.D.W. Va. June 3, 2020) ........................................2

 Read v. Corning Inc.,
    351 F. Supp. 3d 342 (W.D.N.Y. 2018) ..................................................................................8, 9

 Town of Brookhaven v. Sills Rd. Realty LLC,
    No. CV 14-2286 GRB, 2014 WL 2854659 (E.D.N.Y. June 23, 2014) .....................................2

 Town of New Windsor v. Avery Dennison Corp.,
    No. 10-CV-8611 CS, 2012 WL 677971 (S.D.N.Y. Mar. 1, 2012) ....................................7, 8, 9

 Statutes

 15 U.S.C. § 2619(a)(1) .....................................................................................................................6

 42 U.S.C. § 6972 ..............................................................................................................................6



                                                                       ii
Case 2:23-cv-07146-NJC-AYS                       Document 42 Filed 12/02/24                         Page 4 of 14 PageID #:
                                                        1046



 Other Authorities

 In the town ‘Erin Brockovich’ made famous, residents still fear dirty water,
     Washington Post (Dec. 1, 2024) ................................................................................................6




                                                                 iii
 AFSDOCS:300885645.7
Case 2:23-cv-07146-NJC-AYS             Document 42 Filed 12/02/24              Page 5 of 14 PageID #:
                                              1047



         Grumman continues its cynical decades-long use of Bethpage Community Park as a

 hazardous waste dump. Grumman argues that it is grandfathered from complying with current

 environmental and human health requirements and only offers vague assurances that it

 voluntarily might remove some of the contaminated soil someday. Grumman makes absurd

 claims that it can use a backhoe to dig out and then put back the sludge exactly the way it was

 before and that drums it buried decades ago never actually leaked, even though those drums

 contained the same hazardous solvents and metals now found in the adjacent dirt, and some of

 the drums are now empty. Grumman’s lack of candor with this Court and the citizens of Long

 Island is shocking.

         The Town wants Grumman’s sludge to be removed from the Park now, not later at

 Grumman’s discretion. Grumman records demonstrate that it knew by the late 1940s the land it

 later donated to the Town was pervasively contaminated with waste. While Grumman refers to

 the drums it buried under the Park as “potential objects” and denies they contain hazardous

 waste, see Opp. at 6, the reality is the exact opposite. There is nothing “potential” about leaking

 drums full of bright green and yellow sludge under a baseball field. (Shea Supp. Decl. ¶ 5.)




 This photograph is from April 18, 2024 of excavated drum #11. The red arrow points to chromium-
 containing waste inside the drum based on yellow-green color and laboratory analysis.

                                                    1
 AFSDOCS:300885645.7
Case 2:23-cv-07146-NJC-AYS               Document 42 Filed 12/02/24                Page 6 of 14 PageID #:
                                                1048




 This photograph is from May 29, 2024 inside a test pit. The red arrow points to yellow-green material inside
 the test pit consistent with chromium waste found in nearby buried drums.

         Grumman says reburying sludge maintains the “status quo” (i.e. the Park as Grumman’s

 landfill) because their backhoe operator will try to put the sludge back in the same holes without

 redistributing any of it. (Opp. at 13-14.) Under this “status quo,” Grumman continues the 20-year

 barricade around the Park baseball field; residents remain fearful; and any real cleanup happens

 only when and how Grumman chooses without any meaningful enforcement by DEC or EPA.

 The Town needs this Court’s immediate help to stop the endless pattern of lax regulators and an

 arrogant and disingenuous polluter. See Ohio Valley Env't Coal. v. Bluestone Coal Corp., No. CV

 1:19-00576, 2020 WL 2949782, at *8 (S.D.W. Va. June 3, 2020) (citizen suits are a necessary

 backstop to regulatory enforcement). This Court has “wide discretion in determining whether to

 grant a preliminary injunction.” Town of Brookhaven v. Sills Rd. Realty LLC, No. CV 14-2286

 GRB, 2014 WL 2854659, at *7 (E.D.N.Y. June 23, 2014).

         For the reasons further explained below, injunctive relief is appropriate here because:

         First, testing of the sludge where Grumman’s drums were disinterred show extremely

 high levels of toxic waste, including highly toxic hexavalent chromium, a hazardous substance

 Grumman denies was disposed at the Park. (Shea Supp. Decl. ¶ 8.)

                                                       2
Case 2:23-cv-07146-NJC-AYS             Document 42 Filed 12/02/24              Page 7 of 14 PageID #:
                                              1049



         Second, Grumman’s proposal to use the sludge as fill at the Park will spread toxic

 substances that were buried before and will exacerbate Park conditions. (Shea Supp. Decl. ¶¶ 4-

 7.)

         Third, DEC has failed to act to block Grumman from exacerbating the contamination.

 (ECF No. 40-1, Mot. at 10-11.)

         Fourth, even if Grumman dearly wants the benefits of being “grandfathered” to

 standards DEC has revised (to be effective after the public comment period closes in January

 2025), see Opp. at 20 n.9, those standards do not bind this Court.1

         Fifth, by letter to Grumman on November 27, 2024, DEC has notified Grumman that it

 must revise its sampling Work Plan to start sampling for hexavalent chromium and has implicitly

 declared its 2013 Record of Decision (ROD) to be provisional. (Shea Supp. Decl., Ex. H.)

         Although Grumman wants to downplay the contaminants now, when Grumman sued its

 insurers in 2012, it produced a detailed exposé of its toxic waste burial malfeasance at the Park in

 the vain hope of being reimbursed by its old policies. 2 Today, Grumman’s proposal quite literally

 is to mix highly contaminated soil in numerous holes across the Park, leave it there indefinitely,

 and then perhaps years from now use diluted and obfuscated sampling data to do the bare

 minimum it can get away with. The Town cannot accept this cynical attempted dilution as a

 solution to Grumman’s pollution. The Town appeals to this Court to issue a preliminary

 injunction barring Grumman from redepositing contaminated sludge dirt in the Park.



 1
   On November 27, 2024, DEC rejected Grumman’s sampling plan – submitted many months after
 originally requested – for reasons including failing to include enough samples; failing to sample for
 metals including hexavalent chromium; and for relying on the ROD to backstop regulatory demands.
 While the Town is pleased to see DEC somewhat engaged, the singular rejection gives the Town no
 comfort whatsoever that DEC will force Grumman to meaningfully engage on Park cleanup.
 2
   See Travelers Indem. Co. v. Northrop Grumman Corp., 3. F. Supp. 3d 79, 84-96 (S.D.N.Y. 2014). The
 court granted summary judgment to the insurers and refused to shift costs from Grumman to its insurers.
                                                    3
Case 2:23-cv-07146-NJC-AYS           Document 42 Filed 12/02/24             Page 8 of 14 PageID #:
                                            1050



 I.     The Town’s Residents Face Potential Endangerment from the Presence of

        Hexavalent Chromium in the Park Soil and Through Confounding of Future

        Sampling Efforts Justifying a Preliminary Injunction.

        Grumman argues that the Town “fails to establish any imminent risk of harm” capable of

 justifying issuance of an injunction. (Opp. at 9.) However, Grumman has never meaningfully

 investigated hexavalent chromium that was found in recent soil sampling. It claims that any

 hexavalent chromium found in the soil will degrade on its own. (Shea Decl., Exhibit B,

 September 25, 2024 letter from Mark Chertok.) Further, Grumman redepositing sludge into holes

 will render it impossible for Town residents to characterize the Park for remediation.

        A.      Permitting Grumman to Redeposit Sludge Alters the “Status Quo” of the

                Park as Because Accurately Characterizing the Site Is Necessary to

                Abate Endangerment.

        Redepositing sludge makes characterizing the Park more difficult. Thus, excavating,

 mixing, and then filling numerous unlined holes with highly contaminated sludge does not

 “preserve the ‘status quo’” as Grumman suggests. (See Opp. at 14 nn. 5-6.) Instead, Grumman

 will use heavy equipment to remove sludge dirt, pile it on the ground, and use it as fill without

 any protective wraps or caps. Even with the maximum possible care, using a backhoe to excavate

 ten-foot holes, place sludge dirt in piles, and then push it back into the holes will unavoidably

 result in extensive redistribution of contaminants. (See Shea Decl., Exh. 40-3 ¶ 2; Shea Supp.

 Decl. ¶¶ 4-5.) Redeposition will alter the status quo in the Park and likely generate new exposure

 pathways through surfacing buried materials which could be released to air as dust. (Shea Supp.

 Decl. ¶ 4.) It also will obfuscate and confuse the future sampling DEC is requesting Grumman to

 complete. (Shea Supp. Decl. ¶ 9.) Reliable sampling is essential to ensure that any “final”



                                                  4
Case 2:23-cv-07146-NJC-AYS           Document 42 Filed 12/02/24             Page 9 of 14 PageID #:
                                            1051



 cleanup by Grumman is actually protective of human health and the environment. (Shea Supp.

 Decl. ¶ 12.)

        Grumman relies on two glaring lies about site conditions. First, Grumman tells this Court

 that its “drums did not leak” see Opp. at 5, but photos and sampling tell a different story. (See

 Shea Suppl. Decl. ¶ 5.) Second, Grumman states that the Town seeks “the excavation of virtually

 every molecule of PCBs from underneath the eighteen-acre Park.” (Opp. at 4.) Instead, the Town

 has demanded only that the soil be cleaned up to DEC’s “unrestricted use” standard – simply so

 that the Town may have the “unrestricted” right to use the Park for the public good without

 undertaking new sampling and new cleanups over and over again for hundreds of years. (ECF

 No. 40-1, Mot. at 10-11.)

        B.      Testing for Hexavalent Chromium Is Necessary to Abate Risk.

        Grumman’s refusal to test for hexavalent chromium and rush to dig and distribute what

 likely are the most heavily contaminated parts of the Park smacks of a bad faith attempt to

 destroy evidence. (Opp. at 19.) (ECF No. 40-1, Mot. at 11-12.) Under Grumman’s current plan,

 sludge dirt with hexavalent chromium will inevitably be moved around because Grumman has

 made no effort to investigate where it is. (Shea Supp. Decl. ¶¶ 6-7.) Grumman is putting human

 health and the environment at risk in a rush to dilute the future samples of its own contamination.

 (Id. ¶¶ 6-7.) (Cf. Opp. at 9.)

        Hexavalent chromium has been found in proximity to Grumman’s barrels, and even DEC

 has demanded Grumman further investigate. (Shea Supp. Decl., Ex. H, Nov. 27, 2024 Letter.)

 While Grumman submits that this site should be “grandfathered” or regulated as if it were the

 1960s, see Opp. at 21, the better course is to remediate the Park in a manner consistent with the

 Town’s past and future use of this land as youth ballfields. Under RCRA, courts do not wait until



                                                  5
Case 2:23-cv-07146-NJC-AYS            Document 42 Filed 12/02/24              Page 10 of 14 PageID #:
                                             1052



 after the harm already has happened to find endangerment – a threatened risk is enough. See, e.g.

 Comm. Ass’n for Restoration of the Env. v. Cow Palace, LLC, 80 F. Supp. 3d 1180, 1228 (E.D.

 Wash. 2015) (chastising a defendant for suggesting that “this Court wait to act until a young

 infant in the area is first diagnosed” with tumors related to contamination). The point of RCRA is

 to mitigate risk first, but doing so requires characterization activities Grumman will not conduct

 without Court compulsion. 3

 II.     RCRA Gives This Court Jurisdiction to Compel Grumman to Abate Risk.

         Federal environmental statutes include citizen suit mechanisms to protect parties like the

 Town from bad actors like Grumman who exploit lax or overburdened regulators. RCRA Section

 7002, 42 U.S.C. § 6972; TSCA, 15 U.S.C. § 2619(a)(1). Grumman distorts the jurisdictional

 prerequisites for this Court’s exercise of jurisdiction under TSCA and RCRA. Again, Grumman’s

 argument that the Town’s federal claims are simultaneously moot due to agency involvement and

 not ripe based on potential future agency action is inherently contradictory. (Opp. at 9-10.)

         Grumman argues that the parties’ failure to reach agreement should bar this Court’s

 jurisdiction. (Opp. at 17.) But that is precisely why the Town needs the Court’s help; this Court

 has an “unflagging obligation” to exercise jurisdiction over the Town’s RCRA and TSCA claims.

 Colorado River Water Conservation Dist. v. United States, 424 U.S. 800, 817 (1976). Indeed,

 Congress passed RCRA, conferring jurisdiction on federal courts to address environmental issues

 raised by citizens where agency action has failed to address the grievances asserted in pre-suit

 notice letters. Inc. Village of Garden City v. Genesco, Inc., Case No. 07-cv-5244, 2009 WL




 3
   Hexavalent chromium contamination continues to cast a long shadow over communities faced with
 lasting chemical contamination of their drinking water. See In the town ‘Erin Brockovich’ made famous,
 residents still fear dirty water, Washington Post (Dec. 1, 2024),
 https://www.washingtonpost.com/nation/2024/12/01/erin-brockovich-town-dirty-water/.
                                                    6
Case 2:23-cv-07146-NJC-AYS              Document 42 Filed 12/02/24                 Page 11 of 14 PageID #:
                                               1053



 3081724, at *9 (E.D.N.Y. Sept. 23, 2009); Interfaith Cmty. Org. Inc. v. PPG Indus., Inc., 702 F.

 Supp. 2d 295, 302 (D.N.J. 2010).

         A.       DEC’s Failure to Act to Address Contamination Demonstrates that Lacks

                  Primary Jurisdiction Here.

         DEC and EPA’s failure to compel Grumman to clean up the Park necessitates that this

 Court should use its jurisdiction at a minimum to protect the Park from further contamination.

 Grumman argues this Court should not usurp DEC’s jurisdiction, citing the primary jurisdiction

 doctrine. (Opp. at 10-13.) The primary jurisdiction doctrine does not counsel abstention of

 jurisdiction where, as here, an agency has abdicated its responsibility to compel meaningful

 action needed to address environmental issues raised by a party seeking injunctive relief.

 Similarly, the primary jurisdiction doctrine does not compel this Court to bend its knee to

 anticipate future agency action when there is actual or potential harm to citizens or the

 environment, particularly when DEC has failed to demand action by the violator in compliance

 with state regulations and pursued “no formal enforcement actions.” D’Amico v. Waste Mgmt. of

 New York, No. 6:18-CV-06080 EAW, 2019 WL 1332575, at *16 (W.D.N.Y. Mar. 25, 2019).

         Even if the Court applies the test for primary jurisdiction here, the Town wins under that

 standard. 4 Although Grumman attempts to complicate the environmental issues at play, the

 Town’s ask is a simple one – that Grumman be precluded from re-distributing toxic sludges in

 holes at the Park and instead test and then cart away to an approved landfill the materials it

 excavates according to undisputed regulatory standards. See Town of New Windsor v. Avery



 4
  Ellis v. Trib. Television Co., 443 F.3d 71, 82–83 (2d Cir. 2006) (“(1) whether the question at issue is
 within the conventional experience of judges or whether it involves technical or policy considerations
 within the agency's particular field of expertise; (2) whether the question at issue is particularly within the
 agency's discretion; (3) whether there exists a substantial danger of inconsistent rulings; and (4) whether a
 prior application to the agency has been made.”
                                                       7
Case 2:23-cv-07146-NJC-AYS           Document 42 Filed 12/02/24              Page 12 of 14 PageID #:
                                            1054



 Dennison Corp., No. 10-CV-8611 CS, 2012 WL 677971, at *9 (S.D.N.Y. Mar. 1, 2012) (stating

 that a dispute touching upon technical environmental issues does not require deference to DEC).

        B.      The ROD Lacks Sufficient Specificity to Grant DEC Primary Jurisdiction.

        Second, Grumman asserts that DEC is forever bound to the 2013 ROD, even as the facts

 on the ground (i.e. newly discovered buried toxic waste drums) and science (DEC’s revised soil

 clean-up standards) both change. DEC’s November 27 letter illustrates that DEC sees the ROD

 as already superseded and expects a “more robust” plan from Grumman to address identified

 shortcomings. (Shea Supp. Decl. ¶ 12, Ex. H.) Grumman relies on Read v. Corning Inc., 351 F.

 Supp. 3d 342 (W.D.N.Y. 2018) to argue that deferral to agency action is appropriate any time an

 agency has acted at all related to a subject. In Read, DEC set forth “a very detailed course of

 remediation” which the Court then deferred to under the primary jurisdiction doctrine, reasoning

 that the issues “involve[d] technical or policy considerations within the agency’s particular field

 of expertise.” Id. at 354-355. By contrast, DEC’s ROD did not expressly address hexavalent

 chromium or demand particular action of Grumman in disposing of the sludge dirt with finality.

 Instead, DEC said only “more to come . . . much later.”

        Furthermore, where the regulatory agency fails to enforce key regulatory mandates,

 courts do not defer citing primary jurisdiction. See, e.g., Town of New Windsor v. Avery Dennison

 Corp., No. 10-CV-8611 CS, 2012 WL 677971, at *9 (S.D.N.Y. Mar. 1, 2012) (in “over eleven

 years” since a cleanup agreement was signed, involved land was not cleaned up and “[t]hus, as a

 practical matter, that . . . NYSDEC oversight ha[s] not been effective in remedying the

 contamination of Plaintiff's land also justifies this Court's retention of jurisdiction.”) DEC’s

 failure to enforce the twelve-year-old ROD justifies court intervention because of the potential

 imminent threat to human health and the environment still exists unabated.



                                                   8
Case 2:23-cv-07146-NJC-AYS            Document 42 Filed 12/02/24              Page 13 of 14 PageID #:
                                             1055



        C.      There Is No Final and Enforceable Order Giving DEC Primary Jurisdiction

                Over this Dispute.

        To the third and fourth factors, Grumman misrepresents that DEC has made a final,

 enforceable order regarding the issue of backfilling sludge in the Park. DEC’s oral comments

 during recent meetings with the Town and the EPA are neither final nor enforceable. 5 (Shea

 Supp. Decl., Ex. H, DEC’s Oct. 30, 2024 Letter.) There is no danger of inconsistent rulings that

 weighs against court intervention here. DEC’s potential future factual findings alone are not a

 basis to decline jurisdiction. Town of New Windsor v. Avery Dennison Corp., No. 10-CV-8611

 CS, 2012 WL 677971, at *10 (S.D.N.Y. Mar. 1, 2012) (determining that although “NYSDEC

 factual findings may help to inform this Court,” any ruling on the defendant’s motion to dismiss

 based on primary jurisdiction would not necessarily conflict with any formal DEC rulings).

 While courts have stayed actions to defer to an agency’s interpretation of regulations it

 administers, a stay or dismissal to DEC would be inappropriate here because the Town seeks

 relief under RCRA and TSCA. See Interfaith Cmty. Org. Inc. v. PPG Indus., Inc., 702 F. Supp. 2d

 295, 311 (D.N.J. 2010) (“The issues in this case are also not particularly within the [New Jersey

 Department of Environmental Protection] DEP’s discretion. The questions before this Court arise

 under the language of the RCRA, a statute which the DEP has no discretion to interpret.”); but

 see Autauga Cnty. Emergency Mgmt. Commc'n Dist. v. FCC, 17 F.4th 88, 95 (11th Cir. 2021)

 (deferring to FCC for construction of federal statute it administers); AT&T Corp. v. FCC, 967

 F.3d 840, 844 (D.C. Cir. 2020) (same).

        The balance of the harms of deferring to DEC inaction and the costs of delay in providing

 the Town’s residents with relief from the imminent harm of exacerbating Park conditions weighs


 5
   The Read court noted that the involve DEC Order was “not merely some preliminary document; it . . .
 [sets] forth a very detailed course of remediation.” 351 F. Supp. 3d at 355.
                                                    9
Case 2:23-cv-07146-NJC-AYS            Document 42 Filed 12/02/24             Page 14 of 14 PageID #:
                                             1056



 in favor of the Court’s exercise of jurisdiction over this preliminary injunction motion and over

 the Town’s RCRA and TSCA claims. 6

                                           CONCLUSION

        For the reasons set forth herein, the Town respectfully requests that its Motion for a

 Preliminary Injunction be granted.



 Dated: December 2, 2024                                Respectfully submitted,

                                                        /s/ Matthew F. Prewitt
                                                        Matthew F. Prewitt
                                                        J. Michael Showalter
                                                        Sonul Rao
                                                        ARENTFOX SCHIFF LLP
                                                        1301 Avenue of the Americas, 42nd Floor
                                                        New York, NY 10019
                                                        Phone: 312.258.5500
                                                        Fax:     212.484.3900
                                                        Email: matthew.prewitt@afslaw.com
                                                                 j.michael.showalter@afslaw.com
                                                                 sonul.rao@afslaw.com

                                                        Russell Selman (pro hac vice)
                                                        ARENTFOX SCHIFF LLP
                                                        233 S. Wacker Drive, Suite 7100
                                                        Chicago, IL 60606
                                                        Phone: 312.258.5500
                                                        Email: russell.selman@afslaw.com



                                                        Counsel for Plaintiff
                                                        Town of Oyster Bay, New York


 6
   Contrary to Grumman’s contention that the Town somehow delayed in moving for its injunction and that
 the Town delayed Grumman’s remedial effort (Opp. at 3, 9), the Town’s Request for a Preliminary
 Injunction is Timely. The Town was engaged in dialogue about Grumman’s Anomaly Work Plan through
 its approval on October 30, 2024. (See, e.g., ECF No. 40-5 at 54-55, 57.) Had Grumman acceded to the
 Town’s requests for common sense, no court’s intervention would be required. When it became clear that
 Grumman would not properly dispose of its toxic sludge, the Town filed this motion for a preliminary
 injunction on November 11, 2024. The Motion is therefore timely.
                                                  10
